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                      EXHIBIT 1A
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 Economic Loss Zones




                                                                         028314
                          Economic Loss Zones                                     1
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                           All Economic Loss Zones




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D


                                                                                      028315
                                       Economic Loss Zones                                     2
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                          Economic Loss Zones A-C




LEGEND
    Zone A
   Zone B
   Zone C


                                                                                      028316
                                       Economic Loss Zones                                     3
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                              Texas




                                                                         LEGEND
                                                                             Zone A
                                                                            Zone B
                                                                            Zone C
                                                                            Zone D


                                                                             028317
                          Economic Loss Zones                                         4
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                                  South Louisiana




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D

                                                                                      028318
                                       Economic Loss Zones                                     5
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                             Southwest Louisiana




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D
                                                                                      028319
                                       Economic Loss Zones                                     6
             Case 2:10-md-02179-CJB-DPC Document 6430-3 Filed 05/03/12 Page 8 of 16




                              Southeast Louisiana




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D
                                                                                      028320
                                       Economic Loss Zones                                     7
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                       New Orleans




                                                                         LEGEND
                                                                             Zone A
                                                                            Zone B
                                                                            Zone C
                                                                            Zone D




                                                                             028321
                          Economic Loss Zones                                         8
             Case 2:10-md-02179-CJB-DPC Document 6430-3 Filed 05/03/12 Page 10 of 16




                                       Mi i i i
                                       Mississippi
LEGEND
    Zone A
   Zone B
   Zone C
   Zone D




                                                                                       028322
                                       Economic Loss Zones                                      9
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                           Alabama
                                                                          LEGEND
                                                                              Z
                                                                              Zone A
                                                                              Zone B
                                                                              Zone C
                                                                              Zone D




                                                                             028323
                          Economic Loss Zones                                         10
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                Florida Panhandle (Western Section)




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D


                                                                                       028324
                                       Economic Loss Zones                                      11
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    Fl id Panhandle
    Florida P h dl (Central
                    (C t l Section)
                            S ti )




                                                                          LEGEND
                                                                              Zone A
                                                                             Zone B
                                                                             Zone C
                                                                             Zone D


                                                                              028325
                          Economic Loss Zones                                          12
             Case 2:10-md-02179-CJB-DPC Document 6430-3 Filed 05/03/12 Page 14 of 16

                 Florida Panhandle (Eastern Section)




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D


                                                                                       028326
                                       Economic Loss Zones                                      13
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                    Florida (Tampa to Marco Island)




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D



                                                                                       028327
                                       Economic Loss Zones                                      14
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                                     Florida Keys
LEGEND
    Zone A
   Zone B
   Zone C
   Zone D




                                                                                       028328
                                       Economic Loss Zones                                      15
